         Case 1:19-cv-08173-LAP Document 184 Filed 11/09/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETER ALLEN, et al.,

                       Plaintiffs,

-against-                                      No. 19-CV-8173 (LAP)

NEW YORK STATE DEPARTMENT OF                            ORDER
CORRECTIONS AND COMMUNITY
SUPERVISION, et al.,

                       Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

     Based on papers filed under seal on November 8, 2020,

Counsel have agreed to a protective order permitting the

redaction from medical records of material relating to certain

assaults.     Because of the private nature of the material and the

victim’s mental health situation, the Court permitted the

redactions.

SO ORDERED.

Dated:       November 9, 2020
             New York, New York


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                               LORETTA A. PRESKA
                               Senior United States District Judge




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